                      Case 4:02-cr-00094-BSM Document 88 Filed 03/15/13 Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                             FILED
                                                                                                                           U.S. DISTRICT COURT
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                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                    JAMES
                                                                                                          By:_~l.L41--1f--tr---ru::o-ri~
          UNITED STATES OF AMERICA                                           Judgment in a Criminal Case
                             v.                                              (For Revocation of Probation or Supervised Release)
                 JAMES JACKSON

                                                                             Case No. 4:02CR00094-01 BSM
                                                                             USM No. 22693-009
                                                                             William James
                                                                                                     Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General and Special                  of the term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                          Violation Ended
General                           Failure to refrain from unlawful use of a controlled substance                    10/24/2011

Special                           Failure to participate in a substance abuse treatment program                  01/05/2012




       The defendant is sentenced as provided in pages 2 through _ _2_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7402                          03/15/2013

Defendant's Year of Birth:          1976

City and State ofDefendant's Residence:
                                                                        ,

                                                                            -z. ___ ·'
                                                                                 "     <     b.ate of Impo~itio~~f Judgment
                                                                                                      ''-~~-
                                                                                                      Signature of Judge
North Little Rock, Arkansas
                                                                             BRIAN S. MILLER ,                  U. S.          DISTRICT JUDGE
                                                                                                    Name and Title of Judge
                                                                               ·-z__:-> ( (     s \ \3
                                                                                                             Date
                          Case 4:02-cr-00094-BSM Document 88 Filed 03/15/13 Page 2 of 2
  AO 245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
                 Sheet 2- Imprisonment

                                                                                                         Judgment- Page _.=,2_ of   2
  DEFENDANT: JAMESJACKSON
  CASE NUMBER: 4:02CR00094-01 BSM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWELVE (12) MONTHS TO RUN CONSECUTIVE TO SENTENCE IMPOSED IN DKT. NO. 4: 12CR00111-01 BSM WITH NO
SUPERVISED RELEASE TO FOLLOW.



      t/   The court makes the following recommendations to the Bureau of Prisons:

The defendant shall participate in residential substance abuse treatment during incarceration. Defendant shall serve his term
of imprisonment at FCI - Forrest City, Arkansas.



      D The defendant is remanded to the custody of the United States Marshal.

      t/   The defendant shall surrender to the United States Marshal for this district:
           f¥'    at     12:00                         0    a.m.      ri{   p.m.    on   _0_3_1_18_1_20_1_3_ _ _ _ _ __
           D      as notified by the United States Marshal.

      D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D      before 2 p.m. on
           D      as notified by the United States Marshal.
           D      as notified by the Probation or Pretrial Services Office.

                                                                            RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                                   By
                                                                                                  DEPUTY UNITED STATES MARSHAL
